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                          UNITED STATES DISTRICT COURT t
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  UNITED STATES OF AMERICA                                                        PLAINTIFF


  v.                                PLEA AGREEMENT


  JEREMY DELK                                                                  DEFENDANT

                                         * * * * *
         I . Pursuant to Federal Rule of Criminal Procedure 11 (c), the Defendant will enter

  a guilty plea to Count I of the Information, charging a violation of 21 U.S.C. § 33l(t),

  unlawful wholesale distribution of prescription drugs.

         2. The essential elements of21 U.S.C. § 33l(t) are:

                (a) The defendant engaged in wholesale distribution of a prescription drug;

                (b) The distribution was in interstate commerce;

                 (c} The defendant was not licensed by the State from which the drug was
         distributed; and

                (d) The defendant did so knowingly.

         3. As to Count 1 of the Information, the United States could prove the following

  facts that establish the essential elements of the offense beyond a reasonable doubt, and the

  Defendant admits these facts:

               (a) Jeremy Delk was the owner and chief executive officer of Tailor Made
         Compounding, LLC ("1MC"), a coinpounding pharmacy located in Nicholasville,
         Kentucky, in the Eastern District of Kentucky, and subject to the provisions of
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        Kentucky Revised Statutes, Chapter 3 I 5 and the Food, Drug, and Cosmetics Act
        ("FDCA"). The Kentucky Board of Pharmacy, located in Frankfort, Franklin
        County, in the Eastern District of Kentucky, is statutorily obligated to oversee the
        implementation of K.R.S. Chapter 315 and to regulate pharmacists, pharmacies,
        wholesale drug distnbutors, and others operating in the industries covered by
        Chapter 3 15. Foil owing an on-site inspection by the Kentucky Board of Pharmacy,
        TMC received its Kentucky pharmacy license in November 2015.

                (b) The Food, Drug, and Cosmetics Act prohibits any business or person
        from engaging in the wholesale distribution of prescription drugs unless the business
        or person has a license from the designated state authority from which the
        distribution is made and, if the distribution is interstate, also from the designated
        state authority into which the wholesale distribution is to be delivered. As part of
        its duties under K.R.S. 315.402, the Kentucky Board of Pharmacy is the designated
        authority -that inspects and licenses wholesale _distributors of prescription drugs
        shipped to and from Kentucky. At no time did 'IMC apply for or receive a permit,
        license, or authority from the Kentucky Board of Pharmacy to act as a wholesale
        distributor of prescription drugs.

                (c) Doctor I is a licensed physician who operates an anti-aging/wellness
        clinic in the Greater Los Angeles, California area. His practice focuses on
        optimized muscular health, optimized physical fitness, and sex drive, among many
        others. As part of his treatment of patients, Doctor I routinely prescribes various
        peptides and other drugs designed to enhance vitality, physical strength, and sexual
        performance. Beginning on October 23, 2018, and continuing through May 14,
        2020, Doctor 1 ordered Methylcobalamin 10mg/ml IOmL, a prescription form of
        vitamin Bl2, from TMC. Rather than sending individualized, patient-specific
        prescriptions to TMC as is required by law, Doctor 1 made bulk orders of
        Methylcobalamin !Omg/ml 10mL without issuing prescriptions or providing
        accurate patient names. 'IMC filled these orders, totaling 112 vials, without patient
        specific names on the vials. TMC sold Doctor 1 bulk, wholesale distributions of
        Methylcobalamin l0mg/ml l0mL that moved in interstate commerce without the
        issuance of any individualized prescriptions, &11 in violation of 21 U.S.C.
        § 33 l(t). The volumes of Doctor l's orders were such that the Methylcobalamin he
        received was far more than a de minimis amount for in-office use.

               (d) During the time of the Methylcobalamin wholesale distributions to
        Doctor I, Jeremy Delk, as owner and chief executive officer of 'IMC, was aware
        that TMC had never applied for permission from the Kentucky Board of Pharmacy
        for TMC to act as a wholesale distributor of prescription drugs. Despite this
        knowledge, Jeremy Delk knowingly caused 'IMC to fill and ship bulk. wholesale

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         distributions ofMethylcobalamin to Doctor I. When authorities from the FDA and
         the Kentucky Board of Pharmacy inspected IMC between August 20 and October
         24, 2018, Jeremy Delk took steps to hide records of1MC's wholesale distributions
         of Methylcobalamin, as well as other records.

         4. The statutory punishment for the charge in the Information is imprisonment for

  not more than IO years, a fine of not more than $250,000, and a term of supervised release

  of not more than 3 years. A mandatory special assessment of $ 100 applies, and the

  Defendant will pay this assessment to the U.S. District Court Clerk at the time of the entry

  of the plea.

         5. Pursuant to Rule i l(c)(l)(B), the United States and the Defendant recommend

  the following sentencing guidelines calculations, and they may object to or argue in favor

  of other calculations. This recommendation does not bind the Court.

              (a) United States Sentencing Guidelines (U.S.S.G.), November I, 2018,
         manual, will determine the Defendant's guidelines range.

                (b) Pursuantto U.S.S.G. § lB 1.3, the Defendant's relevant conduct includes
         the unlawful wholesale distribution of prescription drugs to Doctor 1.

                 (c) Pursuant to U.S.S.G. § 2N2.l, the base offense level is 6.

                 (d) Pursuant to U.S.S.G. § 3Bl.1, increase the offense level by 2 levels for
         his role in the offense.

                (e) Pursuant to U.S.S.G. § 3Cl.l, increase the offense level by 2 levels for
         obstruction ofjustice.

                (f) Pursuant to U.S.S.G. § 3El.1 and unless the Defendant commits another
         crime, obstructs justice, or violates a court order, decrease the offense level by
         2 levels for the Defendant's acceptance of responsibility. If the offense level
         determined prior to this 2-level decrease is level 16 or greater, the United States will
         move at sentencing to decrease the offense level by 1 additional level based on the
         Defendant's timely notice of intent to plead guilty.

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                (g) Pursuant to U.S.S.G. § 5El.2, a fine is appropriate.

         6. No agreement exists about the Defendant's criminal history category pursuant to

  U.S.S.G. Chapter 4.

         7. The Defendant will not file a motion for a decrease in the offense level based on

  a mitigating role pursuant to U.S.S.G. § 3Bl.2 or a departure motion pursuant to U.S.S.G.

  Chapter 5, Parts H or K. The Defendant also will not seek a sentence below the advisory

  sentencing guidelines range as set forth in Paragraph 5.

         8. The Defendant waives the right to appeal the guilty plea and conviction. The

  Defendant waives the right to appeal any determination made by the Court at sentencing

  with the sole exception that the Defendant may appeal any aspect of the sentence if the

  length of the term of imprisonment exceeds the advisory sentencing guidelines range as set

  forth in Paragraph 5. Except for claims of ineffective assistance of counsel, the Defendant

  also waives the right to attack collaterally the guilty plea, conviction, and sentence.

         9. The United States will recommend releasing the Defendant on a personal

  recognizance bond for future court appearances if the Defendant does not violate the terms

  of the order setting conditions of release.

         I 0. The Defendant agrees to cooperate fully with the United States Attorney's

  -Office by making a full and complete financial disclosure. Within 30 days of pleading

  guilty, the Defendant agrees to complete and sign a fmancial disclosure statement or

  affidavit disclosing all assets in which the Defendant has any interest or over which the

  Defendant exercises control, directly or indirectly, including those held by a spouse,

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  nominee, or other third party, and disclosing any transfer of assets that has taken place

  within three years preceding the entry of this plea agreement. The Defendant will submit

  to an examination, which may be taken under oath and may include a polygraph

  examination. The Defendant will not encumber, transfer, or dispose of any monies,

  property, or assets under the Defendant's custody or control without written approval from

  the United States Attorney's Office. If the Defendant is ever incarcerated in connection

  with this case, the Defendant will participate in the Bureau of Prisons Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation

  or imposes a schedule of payments. If the Defendant fails to comply with any of the

  provisions of this paragraph, the United States, in its discretion, may refrain from moving ·

  the Court pursuant to U.S.S.G. § 3El.l(b) to reduce the offense level by one additional

  level, and may argue that the Defendant should not receive a two-level reduction for

  acceptance of responsibility under U.S.S.G. § 3El.l(a).

         I 1. The Defendant understands and agrees that, pursuant to 18 U.S.C. § 3613,

  whatever monetary penalties are imposed by the Court will be due and payable

  immediately and subject to immediate enforcement by the United States. If the Court

  imposes a schedule of payments, the Defendant agrees that it is merely a minimum

  schedule of payments and not the only method, nor a limitation on the methods, available

  to the United States to enforce the judgment. The Defendant waives any requirement for

  demand of payment on any fine, restitution, or assessment imposed by the Court and agrees

  that any unpaid obligations will be submitted to the United States Treasury for offset. The

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  Defendant authorizes the United States to obtain the Defendant's credit reports at any time.

  The Defendant authorizes the U.S. District Court to release funds posted as security for the

  Defendant's appearance bond in this case, if any, to be applied to satisfy the Defendant's

  financial obligations contained in the judgment of the Court.

         12. Pursuant to Rule 11(c)(1 )(A), the United States will not bring additional charges

  against the Defendant based upon evidence in its possession at the time of the execution of

  this Agreement and arising out of the Defendant's conduct within the Eastern District of

  Kentucky, unless the Defendant breaches this Agreement. If the Defendant violates any

  part of this Agreement, the United States may void this Agreement and seek an indictment

  for any violations of federal laws, and the Defendant waives any right to challenge the

  initiation of additional federal charges.

         13.   1bis document and the supplement contain the complete and only Plea

  Agreement between the United States Attorney for the Eastern District of Kentucky and

  the Defendant. The United States has not made any other promises to the Defendant.

         14. 1bis Agreement does not bind the United States Attorney's Offices in other

  districts, or any other federal, state, or local prosecuting authorities.

         15. The Defendant and the Defendant's attorney acknowledge that the Defendant

  understands this Agreement, that the Defendant's attorney has fully explained this

  Agreement to the Defendant, and that the Defendant's entry into this Agreement is

  voluntary.



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                                               ROBERT M. DUNCAN, JR.
                                               UNITED STATES ATTORNEY



        Date:    9/16/20                 By:
                                               Kate K. Smith
                                               Assistant United States Attorney




        Date: _C/--'--/--'-1/'-----'k>
                                  __
                                               a?
                                               Defendant



        Date:
                                               ¼ -r (;vi~aw '1f"~~v-
                                               Kent Wicker
                                               Attorney for Defendant




        APPROVED, this _ _ _ day of _ _ _ _ _ _ _ _~ _ _ _ __




                                               UNITED STATES DISTRICT JUDGE




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